                Case 23-11131-TMH              Doc 245       Filed 09/12/23        Page 1 of 3




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                             Chapter 11

AMYRIS, INC., et al.,                                              Case No. 23-11131 (TMH)

                                   Debtors.1                       (Jointly Administered)


                       DEBTORS’ WITNESS AND EXHIBIT LIST
                 FOR HEARING ON SEPTEMBER 14, 2023 AT 2:00 P.M. (ET)

         The above captioned debtors and debtors in possession (the “Debtors”) submit this witness

and exhibit list for the hearing scheduled for September 14, 2023 at 2:00 p.m. (ET) (the

“Hearing”) before the Honorable Thomas M. Horan, at the United States Bankruptcy Court for the

District of Delaware, located at 824 N. Market Street, 3rd Floor, Wilmington, Delaware 19801.

                                                  WITNESSES

         The Debtors designate the following person as a witness who may be called at the Hearing.

         (1)     Steven Fleming of PricewaterhouseCoopers LLP concerning:

                 a. With respect to the Motion of the Debtors for Interim and Final Orders (I)
                    Authorizing Debtors (A) To Obtain Postpetition Financing and (B) To Utilize
                    Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured
                    Parties, (III) Modifying the Automatic Stay, (IV) Scheduling A Final Hearing,
                    and (V) Granting Related Relief [Docket No. 19] (the “DIP Motion”), any
                    matters addressed in the DIP Motion and/or Mr. Fleming’s declarations in
                    support of the DIP Motion.

         The Debtors also cross designate all witnesses designated by any other party in connection

with the Hearing, and reserve the right to call any necessary rebuttal or impeachment witnesses.




1   A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.


                                                        1
DOCS_DE:244703.2 03703/004
                Case 23-11131-TMH         Doc 245     Filed 09/12/23    Page 2 of 3




                                             EXHIBITS

          The Debtors designate the following exhibits that may be used at the Hearing:

 Exhibit No.       Document Description                                     Docket No.

                   Declaration of Steve Fleming in Support of (a) Motion    17
                   of the Debtors for Interim and Final Orders (I)
                   Authorizing Debtors (A) To Obtain Postpetition
                   Financing and (B) To Utilize Cash Collateral, (II)
                   Granting Adequate Protection to Prepetition Secured
                   Parties, (III) Modifying the Automatic Stay, (IV)
     1.            Scheduling A Final Hearing, and (V) Granting Related
                   Relief and (b) Motion for Entry of Interim and Final
                   Orders Authorizing the Debtors to (A) Continue
                   Operating Cash Management System, (B) Honor
                   Certain Prepetition Obligations Related Thereto, (C)
                   Maintain Existing Business Forms, and (D) Granting
                   Related Relief

                   Supplemental Declaration of Steven Fleming in Support    238-3
                   of the Motion of the Debtors for Interim and Final
                   Orders (I) Authorizing Debtors (A) To Obtain
                   Postpetition Financing and (B) To Utilize Cash
     2.
                   Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the
                   Automatic Stay, (IV) Scheduling A Final Hearing, and
                   (V) Granting Related Relief

                   Declaration of Lorie Beers in Support of the Motion of   20
                   the Debtors for Interim and Final Orders (I)
                   Authorizing Debtors (A) To Obtain Postpetition
                   Financing and (B) To Utilize Cash Collateral, (II)
     3.
                   Granting Adequate Protection to Prepetition Secured
                   Parties, (III) Modifying the Automatic Stay, (IV)
                   Scheduling A Final Hearing, and (V) Granting Related
                   Relief

                   Senior Secured Superpriority Debtor in Possession        54-1
     4.
                   Loan Agreement dated as of August 9, 2023

                   Subordination Agreement entered into as of May 2,        211-1
     5.
                   2019

                                                                            238-1, p. 161 of
     6.            Plan Budget
                                                                            163


                                                  2
DOCS_DE:244703.2 03703/004
                Case 23-11131-TMH         Doc 245      Filed 09/12/23    Page 3 of 3




 Exhibit No.       Document Description                                       Docket No.

                                                                              238-1, p. 163 of
     7.            Sale Budget
                                                                              163

          The Debtors also cross designate all exhibits designated by any other party in connection

with the Hearing, and reserve the right to use additional exhibits for rebuttal or impeachment

purposes.

          The Debtors reserve the right to amend or supplement this witness and exhibit list prior to

the Hearing.

 Dated: September 12, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                   /s/ James E. O’Neill
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                                                   Debra I. Grassgreen (admitted pro hac vice)
                                                   James E. O’Neill (DE Bar No. 4042)
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                                                   Counsel to the Debtors and Debtors in Possession




                                                   3
DOCS_DE:244703.2 03703/004
